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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND
                        (SOUTHERN DIVISION)

MIRIAN MARICELA LOPEZ TOMAS
818 Gregorio Drive
Silver Spring, Maryland 20901

ANA GRICELDA LOPEZ TOMAS DE
MARROQUIN
8739 Carroll Avenue
Apt 104                                                      Case No.: 22-706
Silver Spring, Maryland 20903

        Plaintiffs,

        v.

MAXI MAID SERVICES, INC.
22203 Fair Garden Lane
Clarksburg, Maryland 20871

Serve: MAXIE C. LEMUS
       22203 Fair Garden Lane
       Clarksburg, Maryland 20871

 MAXIE C. LEMUS
 22203 Fair Garden Lane
 Clarksburg, Maryland 20871

      Defendants.


                                       COMPLAINT

      Plaintiffs, Mirian Maricela Lopez Tomas (“Plaintiff Mirian”) and Ana Gricelda Lopez

Tomas de Marroquin (“Plaintiff Ana”), by their undersigned counsel, Melehy & Associates LLC,

hereby bring this action against Maxi Maid Services, Inc. (“Maxi Maid”) and Maxie C. Lemus

(“Lemus”) for violations of the Plaintiffs’ rights under the Fair Labor Standards Act of 1938

(“FLSA”), 29 U.S.C. §§ 201, et seq.; the Maryland Wage and Hour Law (“MWHL”), Labor &

Empl. Art. §§ 3-413, 3-415 and 3-427, and the Maryland Wage Payment and Collection Law

(“MWPCL”), Labor & Empl. Art., §§ 3-505 and 3-507.2.
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       In support, Plaintiffs allege as follows:

                                         THE PARTIES

       1.      Plaintiff Mirian is an adult resident of the State of Maryland and was employed by

Defendants for approximately ten years beginning in 2011 and ending in March 2021, when she

resigned. During that timeframe, Plaintiff performed household cleaning functions for residences

in Maryland, Virginia, and the District of Columbia and transported other workers in her crew

from their homes to the job sites, between job sites and from the last job site of the day back to

their homes.

       2.      Plaintiff Ana is an adult resident of the State of Maryland and was employed by

Defendants for approximately five years beginning in approximately 2016 and ending in August

2021, when she resigned. During that timeframe, Plaintiff Ana performed household cleaning

functions for residences in Maryland, Virginia, and the District of Columbia.

       3.      Maxi Maid is a corporation organized under the laws of the State of Maryland and

its headquarters are located at 22203 Fair Garden Lane Clarksburg, Maryland 20871. During the

last three years and two weeks, Maxi Maid employed Plaintiffs within the meaning of the FLSA,

the MWHL and the MWPCL because it maintained their employment records, paid their wages,

determined their pay, hired them, had the authority to terminate their employment and paid them

in a manner made unlawful by the FLSA, the MWHL and the MWPCL.

       4.      Lemus is a Director, officer, owner and President of Maxi Maid. She is an employer

of Plaintiffs within the meaning of the FLSA, the MWHL and the MWPCL because: (1) she is an

owner, officer, manager and director of Maxi Maid, (2) she hired both Plaintiffs and had the

authority to fire them; (3) she has operational control over Maxi Maid and is significantly involved

in the operations; (4) she controlled the terms and conditions of Plaintiffs’ employment, including



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their work schedule, their compensation and pay and she set the terms and conditions of Plaintiffs’

employment; (5) she supervised Plaintiffs regarding their duties directly and through mid-level

managers; (6) she has actual and functional control over Maxi Maid’s corporate funds, which are

used to pay Maxi Maid employees, including Plaintiffs, and she had the authority to allocate funds

as profits in the manner she chose; (7) she set Plaintiffs’ pay rates and manner of pay; (8) she paid

Plaintiffs’ wages and wrote their checks: (9) she had knowledge of and approved of the unlawful

manner in which Plaintiffs were paid (paying Plaintiffs a daily rate without paying them an

overtime premium for overtime hours and failing to pay them the applicable Maryland minimum

wage); (10) she established pay practices and formulated and approved pay policies that caused

the violations at issue in this case; and (11) she personally maintained the Plaintiffs’ employment

records in the corporate office of Maxi Maid, which was located in her home.

        5.      Maxi Maid is an “Enterprise Engaged in Commerce” within the meaning of 29

U.S.C. § 203 (s)(1), as it had: (1) employees engaged in commerce or the production of goods for

commerce, or employees handling, selling, or otherwise working on goods or materials that have

been moved in or produced for commerce; and (2) a gross volume of sales made or business done

of not less than $500,000.00 (exclusive of excise taxes at the retail level that are separately stated).

        6.      In addition, Plaintiffs were engaged in commerce, as they performed work in

Maryland, Virginia, and the District of Columbia and crossed state lines to perform that work

several times per month.




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                                          JURISDICTION

       7.        The jurisdiction of this Court is based upon 28 U.S.C. § 1331 and 29 U.S.C. § 217.

The Court has subject matter jurisdiction under § 1331 because Plaintiffs’ claims involve federal

questions and the Court has pendant jurisdiction over the Plaintiffs’ state law claim under 28

U.S.C. § 1367.

                     PERSONAL JURISDICTION OVER DEFENDANTS

       8.        This Court has in personam jurisdiction over Defendants because the cause of

action arose in Maryland and Defendants live and regularly do business in the State of Maryland.

                                       STATEMENT OF FACTS

       9.        The term “relevant period” shall refer to the period of time for which the Plaintiffs

are seeking to recover for the violations alleged in this Complaint and it extends three years and

two weeks prior to the date this lawsuit was filed.

       10.       Maxi Maid employed several crews of residential cleaning personnel, each of

which is comprised of three or more workers. Plaintiff is a member of one of the crews.

       11.       During the relevant period, Lemus decided to pay Plaintiff Mirian a daily rate of

$120. Later on, near the end of her employment with Defendants, Lemus increased Plaintiff

Mirian’s daily rate to $130. During the relevant period, Lemus also made the decision to pay

Plaintiff Ana the daily rate of $90.

       12.       Defendants provided Plaintiff Mirian with a company automobile and Defendant

Lemus directed Plaintiff to use the vehicle to transport herself and her co-workers to various job

sites. Pursuant to these instructions from Lemus, Plaintiff Miriam picked up and transported her

co-workers to the first job site of the day, transported them to various job sites during the day and

then transported them from the last residence of the day to their homes. At all relevant times,



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Plaintiff Mirian worked with a crew that consisted of herself and two or three other employees of

Defendants. Plaintiff Mirian’s travel time from her home to the residence of the first co-worker

that she picked up, from the first worksite to subsequent sites and then from the last job site to the

residence of the last co-worker she dropped off, was compensable working time. Plaintiff Mirian’s

workday began when she picked up the first co-worker and it ended when she dropped off the last

co-worker at her home. See 29 C.F.R. § 785.34.

       13.      During the relevant period, Plaintiff Mirian regularly worked Monday through

Friday and her schedule remained largely the same with small variations. Plaintiff Mirian would

typically leave her home at 6:00 a.m. and pick up the first co-worker at 6:15 a.m., which was the

start of her workday. Plaintiff Mirian did not take a lunch break, as she ate while driving between

work sites. Plaintiff Mirian would typically drop off the last co-worker at that worker’s home

between 6:30 p.m. and 7:00 p.m. (depending on traffic) and that is when her workday ended. Thus,

the length of her typical workday was between 12 hours and 15 minutes and 12 hours and 45

minutes and she worked between 61 hours and 64 hours per week, an average of 62.5 hours per

week. However, Plaintiff Mirian did not receive an overtime premium for her overtime hours.

       14.     Plaintiff Ana did not transport co-workers, as did Plaintiff Mirian. Plaintiff Ana

worked Monday through Friday. Her typical workday began at 7:00 a.m. when she arrived at her

first work site of the day and it ended at 5:00 p.m. or 5:30 p.m. when she finished work at the last

worksite of the day. Her workday typically lasted between 10 and 10.5 hours and she typically

worked between 50 and 53 hours per week, an average of 52.5 hours per week. However, Plaintiff

Ana also did not receive an overtime premium for her overtime hours.

       15.     During the relevant period, Defendants did not pay either Plaintiff in a manner

consistent with the Maryland minimum wage, as set forth in Md. Code Ann. Labor & Employment



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§3-413 (c). From July 1, 2018 to December 31, 2019, the Maryland minimum wage was $10.10

per hour; from January 1, 2020 to December 31, 2020 it was $11.00 per hour; and from January 1,

2021 to December 31, 2021, it was $11.75 per hour. Id. During the relevant period, Plaintiffs were

always paid less than the applicable Maryland minimum wage.

                                                COUNT I
                                       VIOLATIONS OF THE FLSA
                                         29 U.S.C. §§ 201 – 216 (b)
                                               (Defendants)

      16.        Plaintiffs repeat and incorporate by reference all allegations of fact set forth above.

      17.        At all times relevant to this Complaint, Defendants were Plaintiffs’ “employers”

within the meaning of the FLSA.

      18.        At all times relevant to this Complaint, Plaintiffs were “employees” of Defendants

within the meaning of the FLSA.

      19.        Defendant Maxi Maid is an enterprise engaged in commerce or alternatively,

Plaintiffs were engaged in commerce because they regularly crossed state lines in the performance

of their work.

      20.        Defendants violated the FLSA by knowingly and willfully failing to pay Plaintiffs

one and one-half times their regular hourly rate for each hour over 40 that they worked during the

relevant period.

      21.        The actions of Defendants were not undertaken in good faith and/or with a

reasonable belief that they were lawful, entitling Plaintiffs to liquidated damages equivalent to

their unpaid overtime wages.

      22.        In addition, Defendants acted willfully, recklessly, and intentionally, making the

statute of limitations three years under the FLSA.




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       23.      Defendants are liable to Plaintiffs under 29 U.S.C. § 216 (b), for unpaid, and

illegally withheld overtime time wages and an additional equal amount as liquidated damages,

court costs, attorneys’ fees, and any other relief deemed appropriate by the Court.

                                        COUNT II
                                 VIOLATIONS OF THE MWHL

        24.     Plaintiffs repeat and incorporate by reference all allegations of fact set forth above.

        25.     At all times relevant to this Complaint, Defendants were “employers” of Plaintiffs

within the meaning of the MWHL.

        26.     At all times relevant to this Complaint, Plaintiffs were “employees” of the

Defendants within the meaning of the MWHL.

        27.     Defendants violated the MWHL by failing to pay Plaintiffs their applicable

minimum wages and an overtime premium for overtime hours.

        28.      Defendants did not act in good faith or with a reasonable belief that their actions

were lawful, entitling Plaintiffs to liquidated damages.

        29.     Plaintiffs are not able to calculate their damages because they are not in possession

of all pertinent records.

        30.     As a result, Defendants are liable to Plaintiffs pursuant to the MWHL for their

unpaid and illegally wages for the relevant period, an additional equal amount as liquidated

damages, court costs, attorneys’ fees, and any other relief deemed appropriate by the Court.

        31.     For this Count, Plaintiffs is seeking wages and damages back three years and two

weeks prior to the date the complaint was filed.




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                                             COUNT III
                                VIOLATIONS OF THE MWPCL

        32.     Plaintiffs repeat and incorporate by reference all allegations set forth above.

        33.     Defendants knowingly, willfully and intentionally violated Plaintiffs’ rights by

failing to pay them their applicable minimum wages and an overtime premium for overtime hours.

        34.     Defendants’ unlawful failure or refusal to pay the required wages was not the result

of a bona fide dispute within the meaning of the MWPCL.

        35.     Plaintiffs are not able to calculate their damages because they are not in possession

of all pertinent records.

        36.     Defendants are liable to Plaintiffs pursuant to the MWPCL for the unpaid wages,

an additional amount equal to double the unpaid wages as liquidated damages, litigation costs,

attorneys’ fees, and any other relief deemed appropriate by the Court.

        37.     For this Count, Plaintiffs is seeking wages and damages back to three years and two

weeks prior to the date the complaint was filed.

                                      RELIEF REQUESTED

        Plaintiffs request the following relief:

                a)      enter a judgment against Defendants, jointly and severally, and in favor of

        Plaintiffs in the amount of their unpaid and illegally withheld wages, plus an equivalent

        amount as liquidated damages pursuant to 29 U.S.C. § 216(b);

                b)      enter a judgment against Defendants, jointly and severally, and in favor of

        Plaintiffs, based on Defendants’ violations of the MWHL, in the amount of Plaintiffs’

        unpaid wages, along with an equivalent sum as liquidated damages;

                c)      enter a judgment against Defendants, jointly and severally, and in favor of

        Plaintiffs, based on Defendants’ violations of the MWPCL, in the amount of Plaintiffs’

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unpaid wages and an equivalent sum equal to two times the unpaid wages, as liquidated

damages;

       d)     enter judgment for the Plaintiffs in the amount of their costs and reasonable

attorneys’ fees incurred in this action, as provided in 29 U.S.C. § 216 (b) and Md. Code

Ann., Labor & Empl. §§ 3-427 (a) and 3-507.2.

                                     Respectfully submitted,

                                     /s/_Omar Vincent Melehy ______
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